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                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

   Case No. 8:20-CV-00637-DOC-ADS                                         Date: July 7, 2023

   Title: ROBERT COHEN V. CONAGRA BRANDS, INC.


   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                 Karlen Dubon                                   Not Present
                Courtroom Clerk                                Court Reporter

           ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
                 PLAINTIFF:                                DEFENDANT:
                None Present                                None Present


           PROCEEDINGS (IN CHAMBERS): ORDER GRANTING MOTION FOR
                                      RECONSIDERATION [73]

           Before the Court is Defendant’s Motion for Certification for Immediate Appeal, or
   in the alternative, for Reconsideration (“Motion” or “Mot.”) (Dkt. 73). The Motion is
   fully briefed. See Dkt. 79 (“Opposition” or “Opp’n”), Dkt. 80 (“Reply”). The Court held
   oral argument and took the matter under submission on May 1, 2023 (Dkt. 82) and issued
   an Order requiring supplemental evidence (Dkt. 84). The parties have now submitted
   their additional filings. See Dkt. 85 (“Defendant’s First Decl. of Suppl. Evid.”), Dkt. 86
   (“Pls.’ Opp’n”), Dkt. 87 (“Defendant’s Second Decl.”), Dkt. 88 (Defendant’s Reply”).
   (reply)). For the reasons stated below, the Court GRANTS the motion for
   reconsideration and DENIES AS MOOT the request for interlocutory appeal. The Court
   further GRANTS IN PART and DENIES IN PART Defendant’s motion to dismiss as
   stated herein.

      I.     Background

          In this putative class action, Plaintiff Robert Cohen alleges that he purchased
   frozen chicken products sold by Defendant ConAgra Brands, Inc. First Amended
   Complaint (“FAC” or “First Am. Compl.”) (Dkt. 43) ¶ 1. The product labels stated, inter
   alia, “Made with 100% Natural White Meat Chicken,” “No Preservatives,” “No Artificial
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   Colors,” “No Added Hormones,” “No Artificial Flavors.” Id. ¶¶ 28, 29. Plaintiff alleges
   that he relied on these representations and continued buying Defendant’s chicken
   products until January 2019. Id. ¶¶ 73-79. Plaintiff challenges twenty of Defendant’s
   frozen chicken product labels as false and misleading. Id. ¶ 17. Thirteen of those products
   remain at issue in this Order.

          After the Court granted Defendant’s motion to dismiss the initial Complaint,
   Plaintiff appealed. The Ninth Circuit issued an opinion affirming-in-part and reversing-
   in-part. Dkt. 35; see Cohen v. ConAgra Brands, Inc., 16 F.4th 1283, 1289 (9th Cir. 2021).
   As relevant here, the Ninth Circuit reversed the Court’s preemption ruling regarding
   Cohen’s product-labeling claims, explaining that the preemption analysis turns on
   whether Defendant could “produce evidence that the label was reviewed and approved by
   FSIS [the Food Safety Inspection Service of the USDA].” Id. at 1289. Thus, the Ninth
   Circuit instructed that “the parties should submit evidence about (and the district court
   should decide) only whether ConAgra’s label was reviewed and approved by FSIS.” Id.
   at 1283. The Ninth Circuit cautioned, “[i]f the evidence shows that ConAgra’s label was
   approved by FSIS, then Cohen’s claims are preempted.” Id. at 1290.

           Following remand, Plaintiff filed his FAC and Defendant again moved to dismiss.
   See Dkts. 43, 48. On March 20, 2023, the Court granted in part and denied in part the
   motion to dismiss. Dkt. 72. First, the Court ruled that six of the disputed products had
   been reviewed and approved by FSIS. Id. at 9. Thus, the Court concluded that Plaintiff’s
   state law claims related to the “natural” designation on those product labels were
   preempted, and the motion was granted in part on that basis. Id.

           Second, the parties disputed whether, despite not having received sketch approval,
   the remaining thirteen products are subject to FSIS’s generic approval pursuant to
   9 CFR § 412.2. Id. The Court found that the evidence submitted by Defendant failed to
   establish that the remaining thirteen products were reviewed and approved by FSIS.
   Id. at 10. Thus, preemption had not been shown and the motion was denied in part on that
   basis. Id.

           After the Court issued its order, Defendant filed the instant Motion, seeking leave
   to appeal, or in the alternative, for reconsideration. See generally Motion. In the Motion,
   Defendant argues that the Court should certify its March 20, 2023 order for interlocutory
   review because the decision turns on a controlling question of federal preemption law,
   there is a substantial ground for difference of opinion about that question, and resolving
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   that question will materially advance the litigation. See generally Dkt. 73-1.
   Alternatively, Defendant requests that the Court reconsider its ruling based on a recent
   January 2023 FSIS guideline of which Defendant was unaware until after the Court
   issued its ruling. Id. at 18-19 & n.7. Defendant contends that the guideline “make[s]
   unmistakably clear that FSIS does permit generic approval of a chicken patty based on a
   sketch approved chicken nugget,” and “FSIS’s interpretation of this generic approval
   regulation is highly persuasive, if not controlling authority.” Id. at 19.

           Additionally, Defendant argues that, to the extent the Court found Defendant’s
   evidence “insufficient to establish that the challenged products received generic
   approval,” then “the Court failed to consider the evidence presented demonstrating that
   there were no modifications related to the special claims as between the sketch approved
   and generically approved products.” Id. Defendant asserts that “[i]t is also unclear what
   additional evidence would be required to show there has been no modification between
   the sketch approved and generically approved products.” Id. at 20. Defendant avers that
   “[a]ll that is needed to see if a modification related to the special claims has occurred or
   not is a comparison of the generic approved labels and sketch approved labels.” Id.

           Plaintiff opposes, arguing that Defendant has not met the standard for an
   interlocutory appeal, that the Court’s order does not involve a substantial ground for
   difference of opinion, and that an immediate appeal would not materially advance the
   litigation. See generally Dkt. 79. Plaintiff also argues that the request for reconsideration
   should be denied because Defendant’s attempt to rely on the January 2023 FSIS guideline
   violates Local Rule 7-18. Id. at 14 (citing L.R. 7-18 (requiring a material difference that
   “could not have been known to the party” when the order was entered)). Accordingly,
   Plaintiff argues that this demonstrates that Defendant was not reasonably diligent. Id. at
   15. Plaintiff further argues that the language of the new guideline is consistent with the
   Court’s prior order because the guideline is “current thinking”—not binding interpretive
   rules. Id. Moreover, the new guideline—according to Plaintiff—is not applicable to labels
   published in 2015-2018, as alleged in the FAC. Id. Plaintiff also argues that the request
   for reconsideration is an improper attempt to relitigate the motion. Id. at 16.

           On June 1, 2023, the Court observed that the “the ingredients labels that
   Defendant contends are subject to generic approval are unreadable.” Dkt. 84 at 2. Thus,
   to aid in consideration of the motion, the Court ordered Defendant to submit a chart
   providing a comparison between the relevant ingredients labels that received sketch
   approval from FSIS on the one hand, alongside the ingredients labels for each product
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   that Defendant contends is properly subject to generic approval deriving from the sketch
   approval, which is based on the contention that the ingredients are the same, and only
   changes immaterial to the “natural” designation have bene made (e.g., change in product
   shape, change in product quantity). Id. at 1. The Court also gave Plaintiff an opportunity
   to file a response. Id. at 3.

          Having received and considered the additional filings provided by the parties, the
   Court is prepared to rule on the Motion.

      II.    Legal Standards

             A. Modifying Interlocutory Orders

          Under Rule 54(b), the Court may revise any interlocutory order “that adjudicates
   fewer than all the claims or the rights and liabilities of fewer than all the parties” as long
   as the Court retains jurisdiction. This is an exercise of the Court’s inherent authority. City
   of Los Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 888 (9th Cir.
   2001). Such a modification is justified “if sufficient cause is shown.” Moses H. Cone
   Memorial Hosp. v. Mercury Const. Corp., 460 U.S. 1, 13 n. 14 (1983). “A request from a
   party for a court to exercise this authority generally comes in the form of a motion for
   reconsideration.” Allergan Inc. v. Athena, No. SA CV 08-427, 2012 WL 12898344, at *2
   (C.D. Cal. May 24, 2012) (collecting cases).

             B. Reconsideration

          Reconsideration is an “extraordinary remedy, to be used sparingly.” Carroll v.
   Nakatani, 342 F.3d 934, 945 (9th Cir. 2003). It is appropriate when an order “is
   demonstrably wrong, or if new developments would affect the outcome of the motion.”
   Network Signatures, Inc. v. ABN-AMRO, Inc., No. SA CV 06-629 JVS-RNBx, 2007 WL
   7601871, at *1 (C.D. Cal. Apr. 10, 2007). Thus, it should not be granted “absent highly
   unusual circumstances, unless the district court is presented with newly discovered
   evidence, committed clear error, or if there is an intervening change in the controlling
   law.” Maryln Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 880
   (9th Cir. 2009); see also L.R. 7-18.

      III.   Analysis
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             A. Whether Reconsideration is Appropriate

          A review of Defendant’s request for reconsideration suggests that Defendant likely
   has not met its burden for showing that such relief is warranted. This is especially true
   where the request for reconsideration was necessitated by Defendant submitting deficient
   evidence in support of its motion to dismiss. In an exercise of its inherent authority,
   however, the Court will GRANT the request for reconsideration. To be sure, Defendant
   has demonstrated neither “the emergence of new material facts or a change of law
   occurring after the Order was entered,” nor “a manifest showing of a failure to consider
   material facts presented to the Court before the Order was entered.” L.R. 7-18.

           Nonetheless, in the interest of complying with the express “limited nature” of the
   Ninth Circuit’s remand—instructing that “defendant must produce evidence that the
   [relevant] label[s] [were] reviewed and approved by FSIS so this Court can decide “only
   whether ConAgra’s label[s] [were] reviewed and approved by FSIS”— the Court will
   reconsider its ruling on the motion to dismiss the FAC. See Cohen, 16 F.4th at 1289-90.
   Id. at *13. The Ninth Circuit cautioned, “[i]f the evidence shows that ConAgra’s label
   was approved by FSIS, then Cohen’s claims are preempted.” Id. at 1290. Thus, because
   the Ninth Circuit ordered Defendant to take specific action (produce evidence), and
   ordered this Court to take specific action (review that evidence), the Court finds limited
   reconsideration appropriate to comply with that directive.

           The Court rejects Defendant’s assertions that it is “unclear what additional
   evidence would be required to show there has been no modification between the sketch
   approved and generically approved products,” and “[a]ll that is needed to see if a
   modification related to the special claims has occurred or not is a comparison of the
   generic approved labels and sketch approved labels.” Dkt. 73 at 20. When the evidence
   Defendant submitted was literally unreadable, the “additional” evidence that is required is
   simply readable versions of the labels the Ninth Circuit ordered Defendant to produce
   and this Court to review. This should come as no surprise to Defendant. What is
   “unclear” is how Defendant thought the Court would be able to discern the contents of
   the unreadable labels. The Court would have been well within its discretion to deny
   Defendant’s motion to dismiss based on preemption (as it initially did) where Defendant
   failed to present sufficient evidence as directed by the Ninth Circuit.

         Despite this glaring shortcoming, in the interest of efficiency and in the interest of
   not wasting more of this Court’s (and the Ninth Circuit’s) time, the Court ordered
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   Defendant to provide such readable evidence and Defendant has done so. See Dkt. 84.
   The Court strongly admonishes Defendant that if, in support of any future motion,
   Defendant carelessly submits “evidence” that is strewn across the docket in a
   disorganized fashion not amenable to efficient review, the text of key portions of which is
   unreadable, the Court will summarily deny such a motion and decline to entertain any
   request for reconsideration.

             B. Motion to Dismiss Based on Preemption

                 1. Previously Sketch-Approved Special Claims and Subsequent
                    Generic Approval For Non-Special Changes

           As explained in the Court’s prior order, USDA FSIS approves packaging through
   various methods, including sketch approval and generic approval. See 9 C.F.R. § 412.1.
   Generically approved labels can “bear claims and statements that are defined in FSIS’s
   regulations or the Food Standards and Labeling Policy Book (except for natural and
   negative claims).” 9 C.F.R. § 412.2(b)). Sketch approval, which applies to any label
   making a special claim such as “natural,” requires submission to FSIS for approval before
   it can be used in commerce. See id. § 412.1(c).

          One exception to the sketch approval requirement is that, if a label has been
   previously sketch approved for a special claim (e.g., a “natural” claim), it can be
   generically approved after subsequent modifications to the label if the modifications in
   question do not affect the special claim. See 78 Fed. Reg. 66826, 66830 (Nov. 7, 2013).
   When such generic approval occurs, the modified labels do not need to be submitted to
   FSIS because they only use “pre-approved” terms and definitions contained in the
   USDA’s labelling policy book. See 9 C.F.R.§ 412.2.

          In his supplemental opposition, Plaintiff strenuously disputes whether a “label
   with a special claim, even a claim of ‘natural,’ may be generically approved if the
   modifications involve changes unrelated to the special claim.” Dkt. 86 at 1. Plaintiff
   contends that “the USDA’s most recent final rule (Prior Label Approval System:
   Expansion of Generic Label Approval, 88 Fed. Reg. 2798 (Jan. 18, 2023)), interpreting
   regulation (9 C.F.R. § 412.2), makes clear that, unlike other special claims, ‘natural’ label
   claims are not generically approvable.” Id. In support, Plaintiff avers that “the Agency []
   said: ‘After reviewing the comments, FSIS has determined it would be inappropriate to
   allow the following types of labels to be deemed approved without Agency evaluation
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   and review: Labels bearing negative, “natural,” and “organic” claims: These labels are
   not generically approvable because they are special claims, as defined in [the amended] 9
   CFR 412.1(e) of this final rule.’” Id. at 2 (quoting 78 Fed. Reg. at 66830).

          Plaintiff misconstrues the applicable regulations and guidelines. The above-quoted
   language relates to whether FSIS would allow initial generic approval for products
   claiming to be “natural,” not whether generic approval would be appropriate for label
   changes in products that previously obtained sketch approval for a “natural” claim and
   wanted to make subsequent label changes unrelated to the “natural” claim.

           First, in its November 7, 2013, Final Rule, FSIS “amend[ed] the meat and poultry
   products inspection regulations to expand the circumstances in which FSIS will
   generically approve the labels of meat and poultry products.” 78 FR 66826-01. During
   the rulemaking process FSIS was “asked by a commenter if [it] intended to permit the
   generic approval of previously approved labels containing special claims when the only
   modification involves changes unrelated to the special claim,” and FSIS explained, “[t]he
   answer is yes.” Id. at 66830. “Previously approved labels containing special claims may
   be generically approved if the only modification involves changes unrelated to the special
   claim.” Id. Although “[m]any commenters asked that FSIS allow the generic approval”
   out of the gate for several expanded categories of products, FSIS responded that it
   “determined that it would be inappropriate to allow the following types of labels to be
   deemed approved without Agency evaluation and review: Labels bearing negative,
   ‘natural,’ and ‘organic’ claims: These labels are not generically approvable because they
   are special claims, as defined in 9 CFR 412.1(e) of this final rule.” Id. Thus, special
   claims such as “natural” still require initial sketch approval.

          Second, in its January 18, 2023, Final Rule, FSIS “amend[ed] its regulations to
   expand the circumstances under which it will generically approve the labels of meat,
   poultry, and egg products.” 88 FR 2798-01. For example, FSIS expanded generic
   approval to include “organic” claims and “negative” claims that identify the absence of a
   certain ingredient. Id. at 2798. Although FSIS considered whether to allow generic
   approval for all types of labels, it rejected this option after concluding that it “may
   increase the number of misbranded products going into commerce.” Id. “FSIS believes
   the labels that will still require prior evaluation under the final rule, such as labels with
   animal raising, natural, or front of package nutrition labeling claims, benefit from LPDS
   evaluation due to the complex nature and need for supporting documentation of these
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   claims.” Id. at 2810. Thus, under § 412.1, “special statements and claims” to be “natural,”
   still require initial sketch approval. Id. at 2812.

          FSIS’s decision to leave intact the requirement for initial sketch approval of
   special claims that a product is “natural” did not disturb its stance on whether previously
   sketch approved labels for “natural” products may receive generic approval for
   subsequent changes unrelated to the “natural” claim. FSIS has made clear that this is a
   permissible practice. For example, FSIS provides the following guidance on its website,
   which is consistent with the final rule issued at 78 FR 66826-01 at 66830.




   See FSIS, “Generic Labeling Overview at Slide 39 (Sept. 25, 2019), available at
   https://www.fsis.usda.gov/sites/default/files/media_file/2021-02/generic-labeling-
   webinar.pdf.


          In January 2023, FSIS again affirmed this policy:
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   See FSIS Guideline For Label Approval, FSIS-GD-2023-0001 at 9 (Jan 2023), available
   at https://www.fsis.usda.gov/sites/default/files/media_file/documents/FSIS-GD-2023-
   0001.pdf. 1
   1
    See also id. at 21-23, Appendix 3 (“Thus, once a label is approved there are several
   changes that can be made to the label that do not impact the previously approved claims.
   These revisions do not impact the previously approved special statement or claim. In
   addition, for the additional changes to be generically approved, there cannot be any
   formulation changes or addition of ingredients that were not part of the previously
   approved label. . . . Examples of the types of label changes permitted [include]: . . .
   “Changes to the form of the product (e.g., changing from link sausage to bulk sausage or
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          Thus, the Court concludes that nothing in the November 7, 2013 Final Rule, the
   January 18, 2023 Final Rule, the September 2019 guidance, or the January 2023 guidance
   supports Plaintiff’s contention that sketch approved labels with a special claim of
   “natural” cannot use generic approval for subsequent label changes unrelated to the
   “natural” claim. Plaintiff’s position is contrary to the FSIS’s Final Rules and guidance.

                 2. Analysis of Defendant’s Supplemental Evidence

         Given the illegible evidence submitted by Defendant in support of its motion to
   dismiss, to determine whether reconsideration was warranted, the Court ordered
   Defendant to provide a side-by-side comparison table so the Court could compare the
   previously sketch-approved labels with the subsequent label changes that Defendant
   contends are subject to generic approval, thereby preempting Plaintiff’s claims. See Dkt.
   84. Defendant filed a declaration attaching the requested comparison table. Dkt. 85.

            The Court has reviewed Defendant’s supplemental evidence and concludes that
   this is the evidence the Ninth Circuit ordered the Court to review. Thus, the Court now
   conducts that review.

    Product and Label Changes                                    Ruling
    Chicken Breast Nuggets (Family Pack)                         Per the FSIS January 2023
    Ingredient Differences:                                      guidance, removing
    • Removal of Isolated Soy Protein from Patties               ingredients without adding
    • Removal of Dextrose, Sugar, Autolyzed Yeast Extract,       new ingredients, and
    Modified Corn Starch from Batter                             changing the net weight /
    Other Differences:                                           nutritional value are
    • Changes to the net weight                                  generically approved under 9
    • Changes to values in the nutrition facts panel             C.F.R. § 412.2.

    Chicken Breast Nuggets (Box)                                 Per the FSIS January 2023
    Ingredient Differences:                                      guidance, removing

   changing from sausage patties to sausage links)[,] . . . Changes to the order of
   predominance or product formula without the addition of new ingredients[,] Changes to
   the packaging (e.g., going from plastic container to plastic bag)[,] . . . Changes to values
   in the nutrition facts panel[,] . . . Removal of ingredients in product without the addition
   of new ingredients”).
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    Product and Label Changes                                Ruling
    • Removal of Isolated Soy Protein from Patties           ingredients without adding
    • Removal of Dextrose, Sugar, Autolyzed Yeast Extract,   new ingredients, and
    Modified Corn Starch from Batter                         changing the net weight /
    • Change in predominance of ingredients in Batter        nutritional value / ingredients
    (Garlic Powder)                                          predominance / packaging
    Other Differences:                                       are generically approved
    • Changes to the net weight                              under 9 C.F.R. § 412.2.
    • Changes to values in the nutrition facts panel
    • Changes to packaging
    Chicken Breast Patties (Bag)                             Per the FSIS January 2023
    Ingredient Differences:                                  guidance, removing
    • Removal of Isolated Soy Protein from Patties           ingredients without adding
    • Removal of Dextrose, Sugar, Autolyzed Yeast Extract,   new ingredients, and
    Modified Corn Starch from Batter                         changing the net weight /
    Other Differences:                                       nutritional value / packaging
    • Changes to the net weight                              / shape / name are generically
    • Changes to values in the nutrition facts panel         approved under 9 C.F.R. §
    • Different shape (nuggets to patties) and name          412.2.
    Chicken Breast Patties (Box)                             Per the FSIS January 2023
    Ingredient Differences:                                  guidance, removing
    • Removal of Isolated Soy Protein from Patties           ingredients without adding
    • Removal of Dextrose, Sugar, Autolyzed Yeast Extract,   new ingredients, and
    Modified Corn Starch from Batter                         changing the net weight /
    • Change in predominance of ingredients in Batter        nutritional value / ingredients
    (Garlic Powder)                                          predominance/ packaging /
    Other Differences:                                       shape / name are generically
    • Changes to the net weight                              approved under 9 C.F.R. §
    • Changes to values in the nutrition facts panel         412.2.
    • Different shape (nuggets to patties) and name
    • Changes to packaging
    Chicken Breast Strips (Bag)                              Per the FSIS January 2023
    Ingredient Differences:                                  guidance, removing
    • Removal of Isolated Soy Protein from Patties           ingredients without adding
    • Removal of Dextrose, Sugar, Autolyzed Yeast Extract,   new ingredients, and
    Modified Corn Starch from Batter                         changing the net weight /
                                                             nutritional value / ingredients
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    Product and Label Changes                                Ruling
    • Change in predominance of ingredients in Batter        predominance / packaging /
    (Garlic Powder)                                          shape / name are generically
    Other Differences:                                       approved under 9 C.F.R. §
    • Changes to the net weight                              412.2.
    • Changes to values in the nutrition facts panel
    • Different shape (nuggets to patties) and name
    Chicken Breast Tenders (Bag)                             Per the FSIS January 2023
    Ingredient Differences:                                  guidance, removing
    • Removal of Isolated Soy Protein from Patties           ingredients without adding
    • Removal of Dextrose, Sugar, Autolyzed Yeast Extract,   new ingredients, and
    Modified Corn Starch from Batter                         changing the net weight /
    Other Differences:                                       nutritional value / shape /
    • Changes to the net weight                              name are generically
    • Changes to values in the nutrition facts panel         approved under 9 C.F.R. §
    • Different shape (nuggets to patties) and name          412.2.
    Chicken Breast Tenders (Box)                             Per the FSIS January 2023
    Ingredient Differences:                                  guidance, removing
    • Removal of Isolated Soy Protein from Patties           ingredients without adding
    • Removal of Dextrose, Sugar, Autolyzed Yeast Extract,   new ingredients, and
    Modified Corn Starch from Batter                         changing the net weight /
    • Change in predominance of ingredients in Batter        nutritional value / ingredients
    (Garlic Powder)                                          predominance/ packaging /
    Other Differences:                                       shape / name are generically
    • Changes to the net weight                              approved under 9 C.F.R. §
    • Changes to values in the nutrition facts panel         412.2.
    • Different shape (nuggets to patties) and name
    • Changes to packaging
    Original Chicken Nuggets (Box)                           Per the FSIS January 2023
    Ingredient Differences:                                  guidance, removing
    • Removal of Yeast from Breader                          ingredients without adding
    • Change in predominance of ingredients in Breader       new ingredients, and
    (Salt)                                                   changing the net weight /
    Other Differences:                                       ingredients predominance /
    • Changes to the net weight                              packaging are generically
    • Changes to packaging                                   approved under 9 C.F.R. §
                                                             412.2.
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    Product and Label Changes                                  Ruling
    Original Chicken Nuggets (Family Pack)                     Per the FSIS January 2023
    Ingredient Differences:                                    guidance, changing the net
    • None                                                     weight is generically
    Other Differences:                                         approved under 9 C.F.R. §
    • Changes to the net weight                                412.2.
    Original Chicken Patties (Bag)                             Per the FSIS January 2023
    Ingredient Differences:                                    guidance, changing the net
    • None                                                     weight / nutritional value /
    Other Differences:                                         shape / name are generically
    • Changes to the net weight                                approved under 9 C.F.R. §
    • Changes to values in the nutrition facts panel           412.2.
    • Different shape (nuggets to patties) and name
    Original Chicken Patties (Box)                             Per the FSIS January 2023
    Ingredient Differences:                                    guidance, removing
    • Removal of Yeast from Breader                            ingredients without adding
    • Change in predominance of ingredients in Breader         new ingredients, and
    (Salt)                                                     changing the net weight /
    Other Differences:                                         ingredients predominance /
    • Changes to the net weight                                nutritional value / shape /
    • Changes to values in the nutrition facts panel           name / packaging are
    • Different shape (nuggets to patties) and name            generically approved under 9
    • Changes to packaging                                     C.F.R. § 412.2.

          Because these products received initial sketch approval for their special claims of
   “natural,” and because all subsequent label changes are subject to generic approval under
   9 C.F.R. § 412.2, the labels have therefore been approved by FSIS. Accordingly,
   Plaintiff’s state law claims regarding product mislabeling are preempted as to these
   products and must be dismissed. See Cohen, 16 F.4th at 1290.

           In opposition to Defendant’s supplemental evidence, Cohen argues that
   “Defendant failed to submit evidence of the date(s) the products were placed into
   commerce or that it obtained FSIS approval before the products hit the shelves.” Dkt. 86
   at 1. Plaintiff claims that he “alleged in his First Amended Complaint” that “by placing
   the products in commerce prior to agency approval, Defendant ‘violated the federal
   PPIA.’” Id. (quoting FAC ¶ 55). The FAC does not contain such an allegation, however.
   Although Plaintiff alleged that Defendant “violated the federal PPIA,” FAC ¶ 55, this
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   allegation is not based on the contention that Defendant placed the products into
   commerce before receiving agency approval. Rather, the FAC alleges that, “[p]rior to
   releasing the Chicken Products into commerce, ConAgra was required to secure FDA
   approval of every one of its product labels to ensure they meet the standards imposed by
   the PPIA.” FAC ¶ 54. Specifically, “[e]ach product label” for a product that claims to be
   “natural” “must be individually approved before it can be marketed to consumers.” Id.
   “Plaintiff is informed and believes that Conagra received no such approval for all of its
   Chicken Products.” Id. (emphasis added). “Rather, Conagra evaded the federal regulatory
   regime by using a much less rigorous process known as ‘generic’ approval for its
   Chicken Products labels.” Id. (emphasis added). Thus, Plaintiff does not allege that
   Defendant belatedly obtained approval—he alleges that Defendant “received no such
   approval” because Plaintiff believes generic approval is “an end-run” around the
   regulations and unacceptable for these types of products. See id. For the reasons
   explained above, this argument is legally erroneous. As stated, products that have
   received sketch approval for a special claim of “natural” may receive generic approval
   for subsequent label changes unrelated to that special claim.

           Accordingly, Cohen’s allegations as pleaded do not change the outcome and his
   state law claims as to mislabeling the foregoing products are DISMISSED as preempted
   under the Poultry Products Inspection Act. See Cohen, 16 F.4th at 1290. Defendant’s
   motion to dismiss is GRANTED IN PART on this basis. 2

   2
     In a footnote, Plaintiff suggests that he should be allowed to further amend to plead
   “more specific facts . . . regarding how and why Defendant’s modification to the
   generically approved labels is misleading and/or how Defendant’s conduct violated the
   PPIA.” Dkt. 86 at n.5. Until a Scheduling Order issues, amendment is governed by Rule
   15; thereafter, it is governed by Rule 16. If Plaintiff believes he can plead additional facts
   consistent with the governing standard and the rulings in this Order as to the eleven
   dismissed products, he may file a motion for leave to file a Second Amended Complaint
   explaining how he proposes to do that. But Plaintiff is advised that such a request must be
   consistent with this Order. The Court will not entertain further arguments that subsequent
   generic approval for label changes unrelated to previously sketch approved special claims
   like “natural” is improper for changes unrelated to the special claim (e.g., shape, size,
   packaging). Plaintiff should also heed the Ninth Circuit’s guidance that, where labels
   have been approved by FSIS (including generic approval – which is a well-established
   form of approval), the claims are preempted and must be dismissed. See Cohen, 16 F.4th
   at 1290.
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                  3. Popcorn Chicken

          Instead of submitting a comparison table regarding a popcorn chicken product,
   Defendant has submitted a “copy of FSIS sketch approval for the Popcorn Chicken
   product,” including “the FSIS stamp ‘Sketch Approved Subject to Compliance with
   FMIA & PPIA & Regulations,’ indicating the application for sketch approval has been
   approved by FSIS.” Dkt. 85, Phillips Decl., ¶ 3, Ex. B. Defendant explains that
   “[b]ecause the Popcorn Chicken product received FSIS sketch approval, Conagra has not
   included it on the side-by-side comparison table” as a product subject to generic
   approval. Id. ¶ 4. Due to filing errors, Defendant also submitted a second copy that
   properly shows the FSIS approval stamp for the box product. See Dkt. 87, Phillips Decl.,
   ¶¶ 2, 4 & Ex. A. 3

           Plaintiff argues that the generic approval on which Defendant initially sought to
   rely was improper because a comparison of the labels shows that “the formulation was
   changed and unapproved ingredients were added – it was not simply a change to the
   ‘shape.’” Dkt. 86 at 4 (citing Dkt. 86-1, Olsen Decl., ¶ 2 & Ex. 1). Specifically, Plaintiff
   avers that “Defendant added ‘Modified Corn Starch’ and ‘Soy Flour’ to the chicken
   (aside from the Breader and Batter),” and “also changed the Breader formulation, and
   added ‘Soybean Oil’ and ‘Whey’ ingredients.” Id. at 4. Plaintiff contends that, even
   assuming generic approval can be used for certain types of changes to a previously sketch
   approved “natural” label (e.g., shape), “adding ingredients and changing the formulation
   make Popcorn Chicken ineligible for ‘generic’ approval based on sketch approval of a
   different product;” and additionally this violates the PPIA because the changes “relate to
   the special claim that the chicken was allegedly made with ‘100% Natural White Meat
   Chicken,’ when in fact it contained the food additive of “Modified Corn Starch.” Id. at 4
   (citing FAC ¶¶ 29, 31, 40, 47). Even if the Court considers the newly submitted sketch
   approval evidence, Plaintiff argues that it does not undermine his claim because “the
   sketch date of February 18, 2022 is almost two years after this lawsuit was filed and after
   the product had already been in commerce.” Id. at 5.

         In its reply, which the Court did not authorize, Defendant does contend that any
   popcorn chicken product was subject to generic approval (i.e., Defendant has not

   3
    As to the two popcorn chicken products referenced in the FAC, “Popcorn Chicken
   (Bag)” and “Popcorn Chicken (Box),” Defendant states that the box product “was
   discontinued at the time ConAgra sought sketch approval.” Dkt. 85 at ¶ 4.
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   provided a comparison table like for the other products). Defendant also does not address
   Plaintiff’s arguments that Defendant began selling the popcorn chicken products before it
   obtained sketch approval. Defendant’s statement that the box product “was discontinued
   at the time ConAgra sought sketch approval” suggests it was already being sold before
   such approval was obtained. Dkt. 85 at ¶ 4.

          Unlike the other products for which Defendant filed the requested supplemental
   evidence (asserting generic approval based on prior sketch approval), Defendant has
   presented no such evidence supporting any popcorn chicken product (box or bag). To the
   extent Defendant seeks to rely on sketch approval only, that approval does not preempt
   Plaintiff’s claim for the popcorn chicken products for at least two reasons. First, the
   sketch approval on which Defendant seeks to rely, which is dated Feb. 24, 2022, was
   obtained after this lawsuit was filed on April 1, 2020. Compare Dkt. 43 (FAC) with Dkt.
   87-1 (corrected sketch approval attachment).




         Second, as stated, Defendant’s own statement suggests that at least the box product
   was on the market before sketch approval was sought. See Dkt. 85 at ¶ 4 (noting that the
   box product “was discontinued at the time Conagra sought sketch approval”). As Plaintiff
   observes, it is unlawful to place products requiring initial sketch approval into commerce
   without preapproval. See, e.g., 9 C.F.R. §412.1(a); see also Dkt. 73-2 at 7 (FSIS
   Guideline for Label Approval).

         Accordingly, because Defendant has produced insufficient evidence of FSIS
   approval for the popcorn chicken products (either sketch, generic, or both) from which
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   the Court can conclude that Plaintiff’s claims as to the popcorn chicken products are
   preempted, Defendant’s motion to dismiss is DENIED-IN-PART on this ground.

               C. Request for Leave to File Interlocutory Appeal

         In view of the Court’s ruling on Defendant’s request for reconsideration,
   Defendant’s request for permission to appeal is DENIED AS MOOT.

      IV.      Conclusion

          For the reasons stated in this Order, Defendant’s motion for reconsideration (Dkt.
   73) is GRANTED. The request for permission to appeal is MOOT. The Court
   reconsiders its prior order on Defendant’s motion to dismiss (Dkt. 72) and further
   GRANT IN PART the motion as to the eleven products identified in this Order, and
   DENIES IN PART the motion as to the popcorn chicken products.

           Due to the passage of time since the parties filed their initial joint report, the Court
   ORDERS the parties to file an updated Joint Rule 26(f) Report within fourteen days of
   this order. The Court will set a further Scheduling Conference by separate order.

            The Clerk shall serve this minute order on the parties.

    MINUTES FORM 11                                                     Initials of Deputy Clerk: kdu

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